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10                     UNITED STATES DISTRICT COURT
11               FOR THE CENTRAL DISTRICT OF CALIFORNIA
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13   NOLAN LEWIS,                         Case No. 2:15-cv-08756 MCS (Ex)
14                   Plaintiff,           [PROPOSED] ORDER
                                          DISMISSING ACTION WITH
15                   v.                   PREJUDICE
16   WILLIAM MOSSBROOKS, et al.,
17                   Defendants.
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